Case 1:23-cv-00325-WCB         Document 243     Filed 03/12/25     Page 1 of 1 PageID #: 9732




                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE

                                                )
 DELOITTE CONSULTING LLP and                    )
 DELOITTE DEVELOPMENT LLC,                      )
                                                )
                       Plaintiffs,              )
                                                ) C.A. No. 23-325-WCB
        v.                                      )
                                                )
 SAGITEC SOLUTIONS, LLC,                        )
                                                )
                       Defendant.               )

                         NOTICE OF WITHDRAWAL OF COUNSEL

        PLEASE TAKE NOTICE that David A. Prange, Navin Ramalingam, Brandon A.

 Carmack, Demitri M. Dawson, Rebecca Bact, Miles Finn, and the law firm of Robins Kaplan LLP

 hereby withdraw as Counsel for Defendant Sagitec Solutions, Inc. in this action and may be

 removed from the docket and service list.

        Defendant Sagitec Solutions, Inc. will continue to be represented by Thompson Hine LLP

 and Young Conaway Stargatt & Taylor, LLP.


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